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 4

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 7
                                UNITED STATES DISTRICT COURT
 8
                            CENTRAL DISTRICT OF CALIFORNIA
 9

10

11    JAMIL GEORGE RABADI, an individual, Case No. 2:20-cv-09465-JAK-JPR
12
                                       Plaintiff,
13                                                     PLAINTIFF’S MOTION FOR
                         -vs-                          LEAVE TO AMEND COMPLAINT
14
                                                       & JOIN PARTY
15
      SHELLPOINT MORTGAGE
16    SERVICING, LLC; a limited liability;             Date: 1/10/2022
      company; and DOES. 1 through 100,                Time: 8:30am
17

18
                                       Defendants. Honorable Judge John A. Kronstadt
19                                                 Dept. 10B
20

21

22          TO     ALL     PARTIES          AND      THEIR        ATTORNEYS       OF   RECORD:
23    PLEASE TAKE NOTICE that on January 10, 2022 at 8:30am in Courtroom 10B of
24    the above captioned Court, located at: 350 West 1st Street, Courtroom 10B, Los
25    Angeles, California 90012-4565, Plaintiff Jamil Rabadi will and hereby does Motion for
26    Leave to Amend his Complaint filed in the instant action, and to join as a party to the
27    proposed declaratory relief cause of action, Ditech Financial, LLC .
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                                PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT
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            The Motion will be based upon the fact that:
 2

 3
            1) Proposed Defendant Ditech Financial, LLC filed bankruptcy before the onset of
 4
      this litigation, and Plaintiff Rabadi has contemporaneously engaged bankruptcy counsel
 5
      in New York to seek an Order for relief from stay in the Southern District of New York
 6
      where the bankruptcy case is being administered.
 7
            2) F.R.C.P § 15(a)(2) gives this Court authority to grant leave to amend “freely”
 8
      when justice so requires.
 9
            3) Defendant Shellpoint Mortgage Servicing LLC has taken the position in a
10
      Motion to Dismiss that it cannot be held liable for any erroneous accounting of its
11
      predecessor, and thus complete relief can only be afforded to the Plaintiff via a Judicial
12
      Order on a Declaratory Relief cause of action, declaring that the Plaintiff was not in
13
      default under the terms of his mortgage, as Ditech Financial, LLC reported, in order to
14
      remedy the false reportings adversely affecting the Plaintiff's credit.
15
            4) A cause of action for Breach of Contract, and an Accounting are both
16
      prerequisite and necessary to support the burden of proof under a Declaratory Relief
17
      cause of action.
18
            5) Plaintiff maintains that as Shellpoint Mortgage Servicing, LLC has maintained
19
      the erroneous accounting of Ditech Financial, LLC, it is therefor complicit, and thus
20
      must be joined as a party under the newly proposed causes of action supra.
21
            6)    This    motion     is   made      following      the    conference   of   counsel
22
      pursuant to L.R. 7-3 which took place on March 29, 2021 and again on July 28, 2021.
23

24    Dated: August 24, 2021                   JBV LAW & ASSOCIATES
25
                                               /s/ Adam Apollo______________
26                                             Adam Apollo, Esq.
27                                             Attorney for Plaintiff
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                               PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT
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 1
                      MEMORANDUM OF POINTS AND AUTHORITIES
 2
                   INTRODUCTION & PROCEDURAL BACKGROUND I.
 3

 4          The instant action is fairly straightforward, and in summary one primarily for an
 5    accounting. Following an erroneously recorded Notice of Default, which was ultimately
 6    rescinded presumably when the error was recognized, Plaintiff Rabadi initiated an action
 7    against Ditech Financial, LLC (“Ditech”) for an accounting in an effort to rid his account
 8    of erroneous late charges, and with the hopes of repairing his credit by judicial Order.
 9

10                                   FACTUAL BACKGROUND II.
11

12           Plaintiff Jamil Rabadi is a very detail oriented and diligent individual. Plaintiff
13    Jabadi discovered that his prior loan servicer, Ditech, failed to give credit for payments
14    made, erroneously recorded a notice of default (which tarnished Plaintiff Jabadi’s credit)
15    and consequently made it impossible for Jabadi to take advantage of the historically low
16    rates. Plaintiff Jabadi initiated suit against Ditech, who then filed Bankruptcy in the
17    Southern District of New York (Case No. 19-10412-JLG). Plaintiff Jabadi’s former
18    counsel, rather than seeking relief from stay, filed a request for dismissal without
19    prejudice.
20          Defendant Shellpoint eventually took over as the servicer, and not only adopted
21    Ditech’s erroneous accounting, but neglected to credit payments and overcharged based
22    on purported interest for phantom debts as well.
23          Plaintiff is further informed that Defendant Shellpoint Mortgage Servicing
24    (“Shellpoint”) by and through its parent corporation, NewRez, LLC, is the current lender
25    by virtue of an assignment.
26

27                                ARGUMENT III.
28
                    A. STANDARD ON A MOTION FOR LEAVE TO AMEND

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               MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION FOR LEAVE TO AMEND
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 1
            Federal Rules of Civ. Pro. Rule 15(a)(2) governs jurisdiction on a Motion for
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      Leave to Amend. The rule provides that the Court has the authority and “should” freely
 3
      grant leave to amend a complaint when justice so requires. Case law supports the statute,
 4
      noting that leave to amend should be freely granted absent a finding of “bad faith” or
 5
      “futility.” While discretion lies with the Trial Court, absent a finding of the
 6
      aforementioned denial has been found to be an “abuse of that discretion.” Foman v.
 7
      Davis (1962) 371 US 178, 183. In the event this case is remanded, and for additional
 8
      compelling rulings the Plaintiff notes that state court precedent is virtually identical. A
 9
      motion for leave to amend should be liberally granted at any stage in the proceedings,
10
      even on the eve of trial. Desny v. Wilder (1956) 46 Cal.2d 715, 751. “It is a rare case in
11
      which a court will be justified in refusing a party leave to amend his pleadings so that he
12
      may properly present his case. (Citations omitted). If the motion to amend is timely made
13
      and he granting of the motion ill not prejudice the opposing party, it is error to refuse
14
      permission to amend and where the refusal also results in a party being deprived of the
15
      right to assert a meritorious cause of action or a meritorious defense, it is not only error
16
      but abuse of discretion.” (Citations omitted). Morgan v. Superior Court (1959) 172 Cal.
17
      App. 2d 527, 530. (Emphasis added.)
18
            Here, while it is not necessary to show good cause for leave to amend, the Plaintiff
19
      has fantastic cause for his request for leave to amend. Ditech Financial LLC was the
20
      original feasor in this Complaint, and its erroneous accounting, refusal to accept timely
21
      and sufficient mortgage payments for want of a larger erroneous demand, and its false
22
      reportings and erroneous recording of a Notice of Default based thereon form the
23
      gravamen of the Plaintiff's case. While Shellpoint continues the wrongs by adopting the
24
      erroneous accounting, and exacerbates the wrongs by charging interest and foreclosure
25
      related attorney's fees thereon, Ditech is a necessary party to this suit. Plaintiff Rabadi
26
      cannot be afforded complete relief without remedy to the false reportings to credit
27
      agencies. This can be accomplished only via a Judicial Order on an action for
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               MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION FOR LEAVE TO AMEND
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 1
      Declaratory Relief, via a finding that Ditech's accounting was erroneous, that it
 2
      inappropriately recorded the Notice of Default, and that Plaintiff Rabadi was not in
 3
      default under the terms of his mortgage. As a prerequisite to this cause of action,
 4
      Plaintiff Rabadi will need to prove an action for breach of contract against the lender,
 5
      and similarly maintain a cause of action for an accounting. Thus, Ditech's inclusion in
 6
      this suit and inclusion of causes of action for Declaratory Relief, Breach of Contract, and
 7
      an Accounting are compulsory to afford the Plaintiff complete relief.
 8
            Plaintiff Rabadi was of course unable to joint Defendant Ditech in this suit by
 9
      virtue of the Bankruptcy it filed in the Southern District of New York (Case No. 19-
10
      10412-JLG), until such time as it engage counsel in said district to seek relief from stay
11
      therein. As Ditech's bankruptcy reorganization is extremely complex, with years worth of
12
      Orders and claim bar dates with which to contend, Plaintiff Rabadi had an extremely
13
      difficult time finding counsel willing to take on the representation, and an even more
14
      difficult time finding counsel with a sensible plan to obtain relief from stay given the
15
      aforementioned. Plaintiff Rabadi was able to engage said counsel only within about a
16
      week of filing the instant motion, thus Plaintiff Rabadi has been diligent in this
17
      endeavor.
18
                                              CONCLUSION IV.
19
            Pursuant to Rule 15(a)(2), Courts should freely grant leave to amend pleadings
20
      before trial. For the reasons argued supra, Plaintiff Rabadi respectfully requests that this
21
      Court grant leave to amend the Complaint via the proposed amended Complaint most
22
      recently filed.
23

24
      Dated: August 24, 2021                       JBV LAW & ASSOCIATES
25
                                                   /s/ Adam Apollo______________
26
                                                   Adam Apollo, Esq.
27                                                 Attorney for Plaintiff
28

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                MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION FOR LEAVE TO AMEND
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 1
                                     CERTIFICATE OF SERVICE
 2
            I hereby certify that on August 24, 2021 I electronically filed the foregoing
 3
      document using the CM/ECF system, which will send notification of said filing to the e-
 4
      mail addresses registered in the CM/ECF system, as denoted on the Electronic Mail
 5
      Notice List.
 6

 7
      Dated: August 24, 2021                      JBV LAW & ASSOCIATES
 8
                                                  /s/ Adam Apollo______________
 9
                                                  Adam Apollo, Esq.
10                                                Attorney for Plaintiff
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               MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF PLAINTIFF’S MOTION FOR LEAVE TO AMEND
